 

Case 18-12684-LSS Doc 1 Filed 11/26/18 Page 1 of 24

Fl|l in this information to identify the case:

 

§ United States Bankruptcy Court for the:

, District of Delaware
israel 1 1

Case number ()f/<nown): b Chapter § m Check if this is an
amendedf‘"“g

Official Form 201 n
\_Iof_u'ntary petition for Non-lndividuals Fi|in'g for Bar'tkrujp'tcy ome

lf more space is needed, attach a separate Sheet to this form. On the top of any additional pages, write the debfqr's name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-In'd{vlduals, is available

 

1. Debtor's name Fairway Energy, LP

 

 

z All other names debtor used
in the last 8 years

 

 

lnc|ude any assumed names,
trade names, and doing business

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

as names
3. Debtor‘s federal Emp|oyer 38 M 3994200
identification Number (ElN) "~‘ "‘ ~"_” *_* ”'* "'""”_"'*
4_ Debtor’s address Principal place of business Mailing address, if different from principal place
of business
3 Riverway, Suite 1550
` Number Street v Number Street
P€O. Bo)i
,mHouston,., TX 77056 v
C;ty State Z|P Code Clty State Z|P Code '
Location of principal assets, if different from
HARRIS principal place of business
Couniy
Number Street
Ciiy f State Z|P Code
s. Debtor‘s website (UR|_) wwW.firirwz\ymids,trream.cornv w _ _ _'
6_ Type of debtor m Corporation (including Limited Liabi|ity Company (LLC) and Limited Liability Partnership (LLP))

lXi Parmership (exciuding LLP)
a Other. Spe¢:ifytv

 

Official Form 201 Vo|untary Petition for Non~lndividua|s Filing for Bankruptcy page 1

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Pairway Energy, LP

Nai_f_x#

Debtor

 

Case number rumor

 

A. Check one:
1. Describe debtor’s business

 

n Health Care Business (as defined in 11 U.S.C. § 101 (27A))
a Sing|e Asset Rea| Estate (as defined in 11 U.StC. § 101 (51B))
cl Railroad (as defined in 11 U,S,C. § 101(44))

n Stockbroker (as defined in 11 U.S.C. § 101(53A))

n Commod‘ity Broker (as defined |n 11 U.S.C. § 101(6))

n C|earing Bank (as defined in 11 U.S.C. § 781(3))

m None of the above

B. Check a/I that apply:

Cl rex-exempt entity (ee described in 26 u.s.c. § 501>

\:l lnvestment company, including hedge fund or pooled investment vehicle (as denned in 15 U.S.C.
§ 80a-3)

i:l lnvestment advisor (as defined ln 15 U`S.C. § 80b-2(a)(11))

C. NAlCS (North American industry Classification System) 4- -digit code that best describes debtor. See
J rt.

 

 

s. Under which chapter of the Check ane:
Bankru ptcy Code is the
debtor iiiing? n Chapte”
El chapters

§§ chapter i 1. check ai/ that epp/y:

n Debtor‘s aggregate noncontingent liquidated debts (excluding debts owed to
insiders or affiliates) are less than $2,566,050 (amount subject to adjustment on
4/01/19 and every 3 years after that).

n The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). |f the
debtor is a small business debtor, attach the most recent balance sheet, statement
of operations, cash-flow statementl and federal income tax return or if all of these
documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

D A pien re being tried with this petitien.

n Acceptanoes of the plan were solicited prepetition from one or more classes of
creditors, iri accordance with 11 U.S.C,_, § 1126(b).'

m The debtor is required to file periodic reports (for example, 10K and 10Q) with the
Securities and Excharige Commlss|on according to § 13 or15(d) of the Secur'itles
Exchange Act of 1934. Fi|e the Altachmenf to Voluntary Pefitr'on for Non-Individuals F/'li'ng
forBankruptcy under Chapter 11 (Officia| Form 201A) with this fonn.

a 'l'he debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule

 

 

 

 

 

 

 

 

12b-2.
Ei chapter 12
s. Were prior bankruptcy cases QNQ
filed by or against the debtor
w|th]n the last 3 years? n Yes. Dlstrict When Case number
" " MM/ DD /YYYY
lf more than 2 cases, attach a _ _
separate list. D'Sf"°f l When ease number…
' Mtvi/ DD /YYYY """
10. Are any bankruptcy cases n N°
Pending Or being filed by a SEE ATTACHMENT _
business partner or an § YeS. Dethf R€latlol’lshlp
affiliate of the debtor? Dismct l When l
List all cases. if more than 1, ' MM ' DD /YYYY
attach a sepa rate llst. Ca$€ numb€\'\ if known g

 

Official Forrn 201 Voluntary Petition for Non-lndividua|s Fi|ing for Bankruptcy page 2

 

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Fairway Energy, LP

}Tame

Debtor Case number rrtn&r_rnt'{

 

 

11. Why is the case filed in this Check a/l that app/y:
district?

 

m Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
immediately preceding the date of this petition or for a longer part of such 180 days than in any other
district

i;l A bankruptcy case concerning debtor's afh|iate, general partner, or partnership is pending in this district.»

 

 

 

12. Does the debtor own or have X No
possession of any real

i;l Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
property or personal property

 

 

 

 

 

 

 

 

 

 

 

 

 

that needs immediate Why does the property need immediate attention? (Check all thatapply\)
attention?

n lt poses orie alleged to pose a threat of imminent and identifiable hazard to public health or safety.
What is the hazard?

n lt needs to be physically secured or protected from the weather.

n lt includes perishable goods or assets that could quickly deteriorate or lose value without
attention (for example, livestockl seasonal goods, meat, dairy, produce, or securities-related
assets or other options).

El other

Where is the property?:

` Number Street
Cifv Sfaf@ n ziP code

ls the property insured?

n No

|;] Yes. lnsurance agency

Contact name
Phone
- Statistical and administrative information
13. Debtor’s estimation of Check one:
available funds m Funds will be available for distribution to unsecured creditors
n After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors
Cl 1-49 El 1,000-5,000 Ei 25,®160,000
‘4' Ers;:|'::::d number °f m 50-99 l;l 5,001-10,000 El 50,001-100,000
EJ 100199 E.i 10,001-25,000 El Morethen 100,000
Cl 200~999
E _ ill $o-$sc,ooo E] $1,000,001s10 million Cl $500,000,001-$1 billion
15' st‘mated assets El $50,001-$100,000 El $10,000,001-$50 million El $1,000,000,001-$10 billion
El $100,001-$500,000 C] $50,000,001-$100 million Ei $10,000`000,001-$50 billion
El $500,001-$1 million lXi $100,000,001-$500 million L'.l lvlore then $50 billion

 

Ofncial Forrn 201 Voluntary Petition for Non-|ndlviduals Flllng for Bankruptcy page 3

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Debtor .. Falrwa_’y Energy’ LP _ Case number wine/ibi
limit " "
Ci so-$So,ooo `E] $1,000,001-$10 million Ci $500,000,001-$1 billion
16- E~°’"'“a*°d "ab'"“e$ Cl $50',001-5100,000 D $10,000,001-$50 million ;Ci $i,ooo,ooo,ooi~$'io billion
Cl $100,001-$500,000 i:i $50,000,001-$100 million -L'.i $10,000,000,001-$50 billion
Ei $500,001-$1 million N s1 oo,ooo,ooi~$soo million CJ iiore lhan 550 billion

 

.- Request for Rellef, Declaratlon, and Signatures

WARNING ~- Bankruptcy fraud is a serious crime. Making a false statement in connectionwith a bankruptcy case can result in fines up to
$500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Dec|aralion and signature of
authorized representative of
debtor

fritz The debtor requests relief in accordance With the chapter of title 11, United States Code, specified in this
petition.

'-n_' | have been authorized to me this petition cn_behaif_df_the debtorn

#‘, i have examined the information in this petitinnand.have a reasonable belief that the information is true and
correct

l declare under penalty of perjury that the foregoing_is true and correct

11/2_6/2018
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?Exeouted on . .

    
  
  
 

DanoA cross

Printed name

 

‘_ GGei'ie iPai'tnel*

 

 

1a Signatu re ot attorney

    

cato _ 11/26/2018

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- …& w_~_

.Edmon L. Morton

Printed name

Young Conaway Stargatt & Tayior LLP

Flrm name

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i\iumber Street

 

 

 

 

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302_-571-6600 _EMol:ton@vcst.com
Contact phone Emaii address

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.Barnumber_ _ _ . ',St.éte

 

 

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Voluntary Petition for Non-individuais Fiiing for Bankruptcy page 4

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ATTACHMENT A
Pendinslr Bankruptcv Cases Filed bv the Debtor and Affiliates of the Debtor

On the date hereof, each of the affiliated entities listed below including the Debtor in this
chapter ll case filed a Voluntary petition for relief under chapter ll of title ll of the United
States Code in the United Statcs Bankruptcy Court for the District of Delaware (the “M”). A
motion Will be filed With the Court requesting that the chapter ll cases of the entities listed
below be consolidated for procedural purposes only and jointly administered pursuant to Rule
1015 (b) of the Federal Rules of Bankruptcy Procedure.

 

 

 

 

 

 

, ~ Company' , .`Tax'ID#

Fairway Energy, LP XX-XXXXXXX
Fairway Energy Partners, LLC XX-XXXXXXX
Fairway Energy GP, LLC XX-XXXXXXX

 

 

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CERTIFIED RESOLUTIONS OF TI{E
_ l y . BOARD :OF DIRECTORS O_F
FAIR"-WAY ENERGY GP, LLC, FOR ITSELF AND AS
GENERAL PART_N_ER F{)R FAIRWAY ENERGY, L}?, .AND
ITS CAPACITY AS 'THE, S()LE MEMBER ()Fr
FAIRWAY ENERGY I’ARTNERS, `LLC'

The undersigned 'belng,all members of the Board of D§reetors (the "‘§ogr_c_l”j of Fairway,
Energy GP, LLC, a Delaware limited liability company and.the general partner (“Fairwa§g Gl_’”)_,
of Fairway~ Energy, LP, a Delaware'limiteci partnership (‘.‘Fairway' LP”), which is the sole member
of Fairway Energy Partners, LLC `(“PEP LLC” , hereby consent to the adoption of the following
resolutions, on behalf of Fair\vay GP, acting in Faixway GP’s individual capacity and in its capacity
as the general partner of Fairw`ay LP, and insth latter capacity, on behalf of Fa§rway LP acting
in its capacity »aa the sole member`of FEP LLC:

WHEI{EAS, Fairway GP serves as general partner ofPairWay LP and the partnership is
the sole member of FEP LLC (collectively referred to as ‘f§__a§;"_w_a_§;”); and

WHEREAS, .FEP'LLC isa borrower under aSenior Secured Term Loan _Credit Agreement
by and among Riverstone Czedit ' Pertners,, LP ("‘Riverstone?’), as Admin;istrative Agent-; the
lenders party thereto;’ and Fairway 'LP is guarantot, all dated as of Mareh 29,, 2017, as may
thereafter have been amended '(th_e “Credit Ag;eement”); and

WHEREAS, FBP LLC and Faixway LP are each subject to an Event'of Default under the
Credit Agreemeot;and

WHE_REAS`, Pairway GP is subject to alleged or potential liability in connection With the
operations of Fairway and in particular to`those liabilities of `F airway LP; and

WHEREAS, due to insufiicientliqu_idity, ‘Fa§'rway is unable to cure the Event of Det`ault

under the Credit Ag¥€ement; end

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WEREAS,_ Fairway has been unable to obtain and maintain in effect an amendment,
waiver or forbearance of the remedies triggered by the Event of Default under the Credi_t
Agreem'ent for the period after Gctobe`r 522, 20.18;- and

WHEREAS, Fairway may be subjected to events of default under other material contracts
and agreements thatare integral to Fairway’s business operations;§ and

WHER.EAS‘, Fairway has retained Ha_ynes and Boone,, LLP {_“Hames and Boone”) to
provide advice'and counsel Mth'respect to restructuring matters, including bankruptey; and

`WHEREAS,- Fairway has retained Aivarez & Marsal North America,_LLC (“Alvarez &
Ma§a§”), as_iinancial and restructuring advisors and Alvarez & Maisal has assisted Fairway with
its tinancial and cash flow analysis and financial forecasts andmodeling the financial impact of
Fairvvay’s-proposed restructuring in Chapter ll; and

WHEREAS, `Fsirwa_y may retain other such,professionals to provide further necessary
services jin the ordinary course of its business and otherwise to assist with respect to all §acets of
its business and restnxcturingproeess;.and

WHEREAS,\ Fairway has been unable to obtain financing to allow them to cure or
otherwise address the `E,vent of Defauit under the Credi`t Agreernent; and

WHBREAS, after reviewing the current circumstances and taking into account the
extensive previous efforts by Fairway and its professionals to pursue alternative transactions in
order to avoid the need to file bankruptcy cases that the Bcard and each Fairway';entity have
determined in its respective business judgrnent and free from conflicting personal interests that
eaoir of the Fairwa_y business entities file a Ctrap.ter ll case to protect the assets and properties of
_Fairway and to preserve the value of Fairway for the benefit ofits stakehoiders and other interested

parties;j ass

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WHEREAS, the Board.iras_ reviewed and considered the materials previously reviewed in
tire course of addressing tile issues confronting Paitway and more recently those relating to the
current state of negotiations on the Riverstone Credit Agreement~ and have conferred with
,P`airway’s management team and financial and legal advisors regarding tile options and risk
exposures to Fairway absent relief from collection efforts undertaken by River,stone finder the
Cre'dit Agreement._

Filing rgr_c_l_§rosecl_rt`ion of Bank;t_mtov Ca§£

N`ow, rnsnnronn, ns rr

RESOLVED, that in the business judgment of the Board,. it is desirable and in the best
interest of each of the Fair»way business entities and their respective stalceholders and other
interested pains that each or safeway LP, ran tro and norway or ins assess to be area
separate-voluntary petitions (the “Cliapter` ll Petition'”) seeking relief under the provisions of
Chapter` ll of Title 11 of the United vStates Code (the ‘FBankrugteg C_o,de’:");*l and it is'farther

RESOLVED, that the officers of Fairway LP, FEP LLC andilr`airway GP (c'oliectively, the
P‘;Authorized Ofticers*") be, and.each hereby is, authorized and directed to execute and verify the
Chapter il Pctition and to cause the same to be tiled in the United;States B'ankrnp_tcy Coartv for the
Dist:rict of Delaware (the “Banlo'ugtcy Conr_t”), in such form and at such time as such Autliorizerl
Ofticer'(s) shall determine; and it is farther

RESOLVED, that the Antliorized 'Ot`ticers.be, and each hereby is, authorized to execute
and tile for direct others to do so on behalf of_Faiz'way LP,FEP`LLC and Fairway G'P andas
provided herein) all necessary d'ootnnents, including,*witliout limitation all petitions, affidavits
schedules, motions iists,` applications 'pleadings, loan and fmanclng‘ agreements and security

agreements and related -documents,. and other papers_, and in connection therewith to employ and

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retain,all assistance by legal oounsel, aooountants, financial advisors or other professionals and to
take anyiand all ao_€ion which they deem necessary and proper in oonneetioa'\vith the Chaptor Il,
ease

Maaaaa

RESGLVED, that the Arjthorizecl ii)fl:`xel':ran of Fairway L_P, FEP LLC and F_alrway G}? be,
and each ofthem hereby .is, authorized and directed to negotiate and obtain financing to the e)fctent
available with one or more lenders or investors on Sueh terms and in such amount as‘are deemed
necessary to farther finance the operations of Pairway LP, FEP LLC and Fairway GP through its
Chapter 11 case and the continuation and effective date v,o)f`.a plan of reorganization and to execute
and-ille(or direct others to do so on behalf of Fai'manyP, FEP LLC and Fairway GP as provided
herein) all necessary doomnents_, including? without lanitatio_n, all motions, pleadwgs, loan and
financing agreements and\security agreements and related documents necessary or appropriate in
connection with obtaining such inmoing, and subject to further consultation with the board.
Em}glo!ment of'ProfessionaJs _

RESOLVED, that the law firm of*Hayne_s' and Boone, and appropriate_loeaioounsel in
Delaware as required-under the applicable mies,' be, and,hereby'is, employed under general retainer
as bankruptcy counsel for each Fairway entity in the Chapter ll .oase, andtlre Authori'zeci Offieers
of each of the Fairway entities are in each case authorized aadfd`i,reeteo to execute appropriate
retention agreements,, pay appropriate retainor$ prior to and immediately upon the filing of a
Chapter ll case and cause to be filed an appropriate applications for authority to retain the services
of Haynes end Boone, and appropriateloeal counsel in Delaware' as required under the applicabie

rules; audit is timber

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R.ESOLVED, that Alvarez & Marsal be, and hereby is,. employed under general retainer as
financial and restructuring advisors to Fairway LP, PEP LLC and Pairway, Gl? in the Ch'apter ll
cese's, and the Authorized Oft“roers of each of the Fairway entities are in each case hereby
authorized and directed to execute appropriate retention agreements, pay appropriate retainer's
prior to and immediately upon the filing of a Chapter 11 case-andcause to be filed an appropriate
applications for authority to retain the services of Alvarez -& Marsal;.. and it is fiedler

RESOLVED,\ that the Auihorized GFEioers of Fairway be, and each of them hereby is,
authorized and directed to employ any other linn as professionals or oonsultants'to the Fairway
entities as are deemed necessary.to.represent and assist.¥ai_'rway LP, FEP.LLC.and`Fainva}/" GPFi_n
carrying out its duties under the Bankruptey Code and, in connection there\>\dth, the Authorized
Offioers‘ of the Fai`rway companies are hereby authorized and directed to execute appro;)riate
retention agreements, pay appropriate retainers prior to and immediately upon the filing of a
Cnapter 1 l case and cause to be filed an aperopriate applications-for authority to retain the services
of such fnm; and it is further

RESOLVED, that all acts lawfrdly done or actions lawfully taken by any Anthorlzed
Officer to seek relief under Chapter ll ofthe Banl<:ruptcy Code or in connection with tile Chapte:c
11 case, or any matter related thereto, be, and hereby are, adopted ratified,,: confirmed and
approved in a§l respects as £he acteand deeds of Fairway LP, FEP LLC and Fai'rway GP,
General Auihorizine Resolutions

RESOLVED,\that the Authorized OH':oers be, and each of them, hereby is authorized and

directed, in the name of and'on behalf of Pairway LP_,FFEP and Bairway GP_, under Fairway LP_,

FEP and Fairway GP’s corporate Seal_ oz otherwise £0 make, enter into, execute, deliver and tile

any and all other or further agreements, documents, eertitloates~, materials and instruments, to

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disburse funds of`Fairway LP, FEP LLC and Faimay (I`tl?’.j to take or cause to bo`tahon any and all
other'aotions, and to incur all such fees and expenses asi any such officer deems to be nooossary,
appropriate or'acivi'sab'§e to carry out the purposes of the foregng resolutions and the transactions
contemplated thereunder andon to _ prosecute a Chaptor' -lt caso,_ the taking of any such action to
constitute conclusive evidence of the exercise of such discretionary authority; and it\i.s .§u'thor

RESOLVED'that the Authorizod Oft`tcors bo, and each of thom, with full authority to act
without the others_, hereby is authorizod and directod, in the name of‘ond on behalf of Fa`trway 'LP,
FEP LLC and Fairway’ GP,_ under Fairway 'LP, FEP LLC _and Pairwa'y GP’s corporate goal or
othemdse, to vote the_shares. of Fairwoy LF,, FEP LLC and Fa_irway GP*FS Subsi'diaries to authorize
such subsidiaries to fite Chapter 11 cases coo¢lll'rontfy with Fairway LP, FEP LLC and Fairway
GP in order to aocomp§ish efficiently:a restructuring of all of the business, financing and operations
of Fairvvay LF, P’EP LLC and Fairway GP and such subsidiaries; and it is .t`t)rther

RESOLVED, that 311 authorizéd acts,?transactions, or agreements undertaken prior to the
adoption of those resolutions by any officer of Fairway LP, FEP LLC and Fairway GP on behalf
of Faimay LP, FEP-' LLC and ‘§airway GP in connection with the foregoing matters aro hereby
.author§zed, opproved, ratifiod, continued and adopted as the acts of Fa`irway LP, FEP* LLC and
Fairway 'GP; and it is further y

RESOLVED, that the Anthorizod Oft`toers be,- and each of them hereby is, authorizod,,
empowered and directed to oortify and attest any documents or materials Which they deem
neoessary, desirable or appropriate to consummate the transactions contemplated by the foregoing
resolutions,`without the necessity of the signature or attestation of any other officer ortho affixing

of any seal of Fairway LP, FEP LLC and F'aitway GP.'_

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Pmuant m the ottawa Limited Liatzitiry compatiy A¢c, the understgaeb; being an the
members of the Board o£Dircoto:s (the. “Board”) ofFairway Energy GP, LL(_J, a})_elawa;ce limited
liabiiity compauy, do hereby adopt by unanimous consent the foregoing mseiution.s;

IN WNESS WREOF, the undersignch have executed this consent as ofth mpentive
dates set forth below fdr.a:ad bn behalf of wash -bf'Fairway G_P, Faimay LP', and FEP. LLC, tinth

the authority and' m the capacities as sect limit above

:»~/:i tit/fw

 

 

 

 

 

Pb!ter Bezmet£ l Arthur L, Smiih ‘_
Datéri: No`vember _@2018 Dated: No€/embef ___, 2018
Ng¢i;o;a$;r.. swyka, :rr.\ 3 christmas

Déted: Nove£ni§er ___,' 2013 ~ lr 7 ''''''

    

 

Witlta:tt;T.W§lson' ` ' .‘ ~ ‘.
z:)a:ed: No'vemb¢r‘,_? , 2013 ,, dr Novembet.\~‘:¥zm

 

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of fairway il!'; ¥’l`!¥"!,f.(,‘ and -‘{'»‘:¢in.wy iii' in wmt'¢<:`t§gm wish m¢'foeq¢¢;oizgg maxims arc kathy
=aii»,<>z“n':cd. a;~?;wv¢d. mdsied.-cor.<itz¥xed ami aénpa¢d as the stabilizisz I,`P. I"I§l.' Ll',(¥'zxaé
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may/wm cba aborted wa acuity md mm my tidewma m mims which §h¢>‘ twa
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` # cia c »

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lhwca tammy mm;~m;, damage adam by basil/imm mat»:m. th¢_x‘o'wga;ng tm>§mmz

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'n:-§;s-c`¢ilx'¢ dam sgt farm b¢!uw '.“w-;»M tmb:hall`vf with <\t`!"uimz»y ('»R Vairwa§_' l$‘. man \`.TZI"
.U¢L*. under the suthoei¢y md Izt meac;mi!ias co m rank abn».v.

 

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!}atej&§ '»I\"'b'~.%i'ciizi.»cv._,(§?__,`£(\!,¥ M; N\`);v\"m¥)¢t;”m,. 2913
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mm xvmw‘__) ama rim :~':mmtw M,;»,z¢;a

ii

 

 

 

 

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’I¢_-‘¥**'#}€

Pm§qant'%o fha Dclawazje limith Liabi§ily `C<).m;za!iy AC€, the undersigned, being°all the

 

 

 

 

 
 

 

 

m¢nfbers o§tlie: Bb‘a'i'c;l of'¥)ireators (the “Boar<i”}.pf,Failwaijnérgy',GP, LLC., a Delaware »iixnitc_:<'i
iléb§}ity/,Qompany, do hamby‘,adppi:, by mammals amuse;;,t, the~`fo);egging resci!uti'cm,s,'
IN WH'NESS 'WHEREOF,~H§¢ mdcrsig;zed have exécuiec§ this consczit,as Qf_ iba respe<:iive' §
adams set foxth below-for and on b_éha!f c§f eachof.l“*-’airway GP', Fairway LP, amf 'FEP~.T,LC, wider
the'quihori€y and in the capacities»as set‘f§rih above.
Pof;¢r Benneti k w ’ ' A,:thtu‘.L. Srhitll '
Dé;eé:~l&{bveri;b§r¢w_a¥.,20'l 81 D`a`rtpd: chemb¢r __;__J 2018
Nich`olas L* _Swyka. Jr.. ` l Ch'ris .T<meé b < .
`Datéiii:‘ .No \ = b. 20'_1`8,~ 1 ‘ D fte;d: N 'v’, b r 2018 `
/jvw--»/ 1 f …»-»
vs-,z"w;r:_`]j /wx , l ` ` v y
Where T* ’Wiisof\.» ' J§m Pa Wis__e

Da£ed;¢ Novembe.r ii 2018 Dated: November.‘m, 2618

€)¢)sasos.t)oow;4322~9533-3'317v.»s 7

 

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Case 18-12684-LSS Doc 1 Filed 11/26/18 Page 15 of 24

>1< 714 ¥1¢ S.< ‘é<

Pu'rsuaut to 1116 Delaware limited Liability C<)mpany Acl'., the undersigned, being all the
members 01` the B<)ard of D'ire\:tor$ (the “Board”) of Fairway 'Energy GP, LLC, a D<~)laware
MMth liabiiixy company, do hereby adopt by unanimous consent, the foregoing resoluti<)rls.

115 WTTNESS WHEREGF, the undersigned have executed this consent as 01 the

re$pective dates Set form below for and on behaif of each of Fa‘irway GP, Fa'i'rway LP, find FEP

=+

  
    

LLC, under the authority and in the capacities as set fort a ove.

 

 

 

 

 

 

PQI‘LQY Bennett Atitb::'=:{r L. Smith \’/
L`)a'ied: Nov€mb¢:x‘ M, 2018 Da`te : No\/embcr m, 2018
Nicholas L. Swyka, Jr. .1. Chris lanes

Dated: N<)v¢:mbcr__', 2018 Datcd: _N<>vczmber W, 2018
WiUiam T, Wi§son Iim P1 Wise

Dated: Novemberm__, 2013 Dated; Novcmber _, 2013

0056§}(`)3‘()§)0(14 §4$22"95$3»3¥1'7 v.i§ 7

 

 

Case 18-12684-LSS Doc 1 Filed 11/26/18 Page 16 of 24

.~r**a=#'

v lex `I

pursuant re the Delaware Limited Liabi£ity Compaz_)y Act, the undersigned,` being all the
members of the Board of Direct_ors (the “Board"’) of Fairw'ay Energy GP, LLC, a _De'laware
iimited.`liability company, do hereby adept, by unanimous eox:sentz she fbregoiing resolutions.

IN WITNBSS WHERBOF, the undersigned have executed this coqsent, as of the
respective da_zes set forth below for'and:c__)n'behalf of each of.¥"ejr`way GP;;;,_ Fai`rway L'P, and FEP

LLC, under the authority and in the capacitiee as set forth above

 

 

'P`orter‘ '}§'enn`e£t`
Dated: NovemberM 20£ 8

     

 

 

~.Chris.l'on ‘ 14 w

Nicholas L. Swyka, Jr.
area Nq` lever l"T 2012

Dated: November W, 2018

 

 

William'l` leson JimP. Wise
Da$ed: November 2018 Dated: November______ »;~.;2018

 

nassaus;ooao¢f;;'zszz»¢)$ss»sa17 ve 7

Case 18-12684-LSS Doc 1 Filed 11/26/18 Page 17 of 24

Fill in this information to identify the case:

Debtor name
United Statcs Bankruptcy Court for the:

Case number (If known):

Fairwav Enerav LP et al

District of Delaware

 

(stare)

 

Officia| Form 204

LI| Check innis is an
amended filing

Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the
20 Largest Unsecured C|aims and Are Not lnsiders

12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. |nclude claims which the debtor
disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). A|so, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20

largest unsecured claims.

 

' Na_me of creditor and complete

Name, telephone number, and ' ~

Nature of the claim

indicate if

Amount of unsecured claim

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

/, f mailing address, including zip email address of creditor ry , (forrexample, trade claim is if the cga]m 13 fully unsecured till in'only
' °°de y ` 1 ' °°"ta°t' ` “ debtsx §§nk '°a“S\ °°"tinge,"f» unsecured claim amount |f claim is partially
' ' ' ~ Pr°fe$$‘°nai unii‘]l,"dated= secured, fill in totalclalm amount and deduction
` $eWi°eS» and °' d'SPuted , for value of collateral or setoff to calculate * y '
government ' unsecured claim`. y » ` , f ' '
' oontracts)
' Total claim, if Deduction Unsecured
partially for value of claim
y secured collateral or
' ' ~ » , f setoff
ISFI Constructors LLC Hal Ja.rrcll Trade Debt Disputed $547,918,65
5106 Manor Haven Phonc: 832-434-8772
Houston, TX 77084 hal@isfi.com
Ann Harris Bennett, Tax Assessor Phone: 713~274~8000 Propcrty taxes due $366,710.43
Collcctor Fax: 713-368~2509 under lease
PO Box 4622 ann.ha.rris-bennett@tax,hcb<.net
Houston, TX 77210
Underground Storage, LLC Theodorc Grabowski Trade Debt Contingent $136,274.04
4800 San Felipe Phonc; 713-986-2880
Houston, TX 77056 Fax: 713-986-5326
tgrabows@texasbrine.com
EnviroCon Systems, lnc. Phone: 281-443-2565 Trade cht $130,744.50
PO Box 673048 Fax: 281-443-6227
Houston, TX 77267 michellc@enviroconsystmes.com
Hawkins Lease Scrvice, Inc. Will Hawkins Trade Debt $95,922.50
PO Box 1699 Phone: 281~331-2739
Alvin, TX 77512 Fax: 281-585~4295
whawkins@hawkinsleaseservice.com
Instrumcntation and Electrical leff Durso Trade cht $47,109.96
Speciah`sts, Inc. Phone: 281~470-1063
PO Box 5370 Fax: 281-470-]067
Pasadena, TX 77508
Locke Lord LLP John Arnold; Ma.rk Miller Trade cht $29,426.25
PO Box 301170 Phone: 713-226-1200
Dallas, TX 75303-1170 Fax: 713-223-3717
john.amold@lockelord.com
K E Andrews & Company Chad Wigington Trade Debt $17,()00.00
1900 Darlock Road Phonc; 469-298-1594
Rowlett, TX 75088 Fax; 469~298-1595
cwigington@keatax.com

 

 

Ofticial Form 204

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured C|aims

page 1

 

 

 

Debtor

Case 18-12684-LSS Doc 1 Filed 11/26/18 Page 18 of 24

Fairwav Enerov l.P et al
Name

Case number (ifknown)

 

Name of creditor and complete 1

~ `N'ame, telephone number, and »':§:Naf\i\‘e 01 fha claim

indicate if

Amount of unsecured claim"

 

 

 

 

 

 

 

 

 

 

 

 

 

 

mailing address, including zip_ code email address of creditor y (for example, trade claim is if the C|aim is fully unsecured! fm in only unsecured
~, b , » . , , , ' contact ~ ' y debts, ~oarnk loans, contingent, Cia;m amount if claim is pamal;y Se¢ured’ in in
' prof‘?$$l¢?."al v unliquidated:, total claim amount end deduction for value of
Se“”Ces» and °r disputed collateral or setoff to calculate unsecured claim,
government . ' ’ j ~ w ~ , ~
5 contracts)

1 y x " Total claim, if Deduction for Unsecured
partially value of claim
secured collateral or

, _ , ` , , , setoff
Calpine Energy Solutions Michelle Manner Tradc Debt $15,975.88
9 401 Wcst A Stxect, Suite 500 Phone: 619-684~8190
San Diego, CA 92101 Fax: 619-684-8365
Michcl!e.manncr@calpinesolutions.com
Jackson Walker, LLP Amy Baird Trade Debt $8,947.50
10 1401 McKinney street sure 1900 mcth newell
Houston, 'I'X 77010 Phone: 713-752-4200
abaird@jw.com
Hydrologic Monitoring, LLC Soot Ude 'l`rade Debt $7,914.00
1 1 1654 w, sam Hausron Parkway N. Phone; 713-464~5206
Houston, TX 77043 Fax: 713-464~5207
Haddington Ventures, LLC J. Chris Jones Tradc Debt "$6,977.92
12 2603 Augusa suite 900 Phone; 713-532-7992
Houston, TX 77057 Fax:713-532~9922
cjones@hvllc.corn
Expro Holdings US, Inc, Lisa Mam`n Trade Debt $6,169.94
13 PO Box 122080 Phone: 281-576-5500
Dallas, TX 75312 Fax: 281~382-5579
KorTerra, Inc. Sam Ha.ndziak Tradc Debt $5,400.00
14 18946 Lake Dn‘ve E Phone; 952-697-4295
Chanhassen, MN 55317 Fax: 952-697-3141
sam.handziak@korterra.com
Blue Line Rental LLC Dana Stephonson Trade Debt $4,640.45
15 PO Box 840062 Phone; 832-585~5561
Dallas, TX 75284-0062 danastephenson@bluelinerental.com
Smitb Pump Company, Inc. Lea Swanson Trade Debt $4,598.88
15 301 M & B lndusiriai Pimne; 254-776-0377 -
Waco, TX 76712 Fax; 254-776-0023
seas@smithpmnp.com
Nchields Companies, LLC Ginger Hicks Tradc cht $4,381.50
17 1349 West Peachuee sims suite 200 Phone; 404_347-9050
Atla.nta, GA 30309 Fax: 404-347-9080
fghicks@newfu=,lds.com
BDO USA, LLP Alex Garside Tradc Debt $4,100.00
18 PO Box 677973 Ph<>ne; 713-548-0847
Dallas, TX 75267-7973 agarside@bdo.com
Zabel Freeman Richard Kcrr Trade Debt $3,562.50
19 1135 Haighrs Blvd Phone; 713_802~9117
Houston, TX 77008 Fax: 802~9114
rkcrr@zt]aw{irm.com
City of Pasadena (Permit Dept) JeffWagnor, Mayor 'l`rade Debt $3,000.00
20 Po Box 672 Phone; 713447-1511
Pasadena, TX 77501

 

 

 

 

 

 

 

 

 

Officia| Form 204

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured C|aims

page 2

 

 

Case 18-12684-LSS Doc 1 Filed 11/26/18 Page 19 of 24

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re
FAIRWAY ENERGY, LP

Debtor.

Chapter 11

§
§
§ Case No.
§
§
§

VERIFIED LIST OF EQUITY SECURITY HOLDERS
FILED BY FAIRWAY ENERGY. LP

 

Addrese of Principal Pla>ce`ot"'y

Number'and Class_ ,

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

’ ' ' ' ' of Units of Security; y
_ ' Shareholders` " ' , Business' ory Principal' ' ` Interest ' ~ `

, . v g . " 1 v , ,. .Residence w ' ` z '
President and Fellows of Harvard 600 ATLANTIC AVE 11,000,000 28.014%
College BOSTC)NMA 02210
Fairway Energy Holdings, LLC 2603 AUGUSTA, SUITE 900 7,000,000 17.827%
(Haddington Energy Partners IV, LP) HOUSTON TX 77057
Dcutsche Global Infrastructure Fund 345 PARK AVENUE 6,190,000 15.764%

NEW YORK NY 10154
Atlas-Zie Energy SPV, LLC 181 W. MADISON SUITE 3600 3,650,000 9.296%
CHICAGO IL 60602
Grcat American Life Insurancc 301 E. FOURTH STREET 1,750,000 4.457%
Company CINCINNATI, OH 45202
ZP Energy Fund, L.P. 888 SEVENTH AVE, 23RD FL 1,087,000 2.768%
NEW YORK,NY10106
UBS Asset Management(Americas) ONE NORTH WACKER DRIVE 935,100 2.3 81%
Inc CHICAGO, IL 60606
Great American lnsurance Company 301 E. FOURTH STREET 750,000 1.910%
CINC]NNATI, OH 45202
Southern Farm Bureau Life Insuranoe 1401 LIVINGSTON LANE 700,000 1.783%
Company JACKSON, MS 39213
B. Riley Financial, Inc. 11100 SANTA MONICA BLVD. 630,000 1.606%
SUITE 800
LOS ANGELES, CA 90025
Clough Investment Partners I, LP ONE POST OFFICE SQUARE 620,000 1.580%
40TH FLOOR
BOSTON, MA 21091
Clough Global Opportunities Fund ONE POST OFFICE SQUARE 536,000 1.365%
40TH FLOOR
BOSTON, MA 21091
Bay Resource Partners Offshore 2300 WINDY R]DGE PARKWAY 45 6,040 1.161%
Master Fund, LP SUITE 550 SOU'IH
ATLANTA, GA 30339
ijerloft Capital Master Fund, Ltd C/O RIVERLOFT CAPITAL MGT. 45 0,000 1.137%
300 W 41 ST., SUITE 201A
MIAMI BEACH, FL 33140

 

 

 

 

 

4818-7651-0818 v.6

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Case 18-12684-LSS Doc 1 Filed 11/26/18 Page 20 of 24

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

1 z '- ' v » l » ' ' Number_ yand Class
; f '~ , Address of Principal Place of of Units`of_Security`
ry , Shareholders , B,usiness or,Principal ' " Interest '
, ~ . l i~» ' 3 ,, Residence ' 9 f 1 ;
Windhorse Partners, LP 125 HIGH ST., 22ND FLOOR 335,000 0.853%
BOSTON, MA 21091
Clough Offshore Fund, Ltd ONE POST OFFICE SQUARE 263,100 0.670%
40TH FLOOR
BOSTON, MA 21091
CF Odey Absolute Return Fund 12 UPPER GROSVENOR STREET 224,000 0.570%
LONDON, UK W1K2ND
JC Clark Adaly Fund LP 130 ADELA[DE ST. W, SUITE 220,000 0.560%
3400
TORONTO, CA M5H3P5
Clough Global Equity Fund ONE POST OFFICE SQUARE 217,600 0.554%
40TH FLOOR
BOSTON, MA 21091
Bay Resource Partners, L.P. 2300 WINDY RIDGE PARKWAY 212,430 0.541%
SUITE 550 SOUTH
ATLANTA, GA 30339
Bay ll Resource Partners, L.P. 2300 WINDY RIDGE PARKWAY 194,890 0.496%
SUITE 550 SOUTH
ATLANTA, GA 30339
Windhorse Endeavor, LP 125 H]GH ST., 22ND FLOOR 150,000 0.382%
BOSTON, MA 21091
IRA FBO J. Steven Emerson, Pershing 1522 ENGLEY AVENUE 150,000 0.382%
LLC as custodian LOS ANGELES, CA 90024
IRS FBO .l. Steven Emerson, Pershing 1522 ENGLEY AVENUE 150,000 0.382%
LLC as custodian -Roth Account LOS ANGELES, CA 90024
Koz LLP 1501 CORPORATE DRIVE, SUITE 150,000 0.382%
230
BOYNTON BEACH, FL 33426
Clough Global Dividend and Income ONE POST OFFICE SQUARE 130,700 0.333%
Fund 40TH FLOOR
BOSTON, MA 21091
Odey European Inc 12 UPPER GRCSVENOR STREET 129,475 0.330%
v LONDON, UK W1K2ND
Daniel Michalow 40 E 19TH ST., #5 120,000 0.306%
NEW YORK, NY 10003
OEI Mac Inc. 12 UPPER GROSVENOR STREET 94,525 0.241%
LONDON, UK W1K2ND
John B. Berding Irrevocable Childrens 4705 BURLEY HILLS DRIVE 60,000 0.153%
Trust CINCINNATI, OH 45243
Parvinder Thiara 475 WASHINGTON BLVD. 52,500 0.134%
APT 1901N
JERSEY CITY, NJ 73102
Bald Cypress, Ltd 2727 ALLEN PARKWAY 50,000 0.127%
SUITE 1000
HOUSTON, TX 77019
Carl and Shawn Dalio 65 E. BROAD OAKS DR. 50,000 0.127%
HOUSTON, TX 77056
John B. Berding 4705 BURLEY HILLS DRIVE 40,000 0.102%
CINCINNATI, OH 45243

 

 

4818-7651-0818 v.6

 

 

 

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` ' " ~ ' ~ y Number andC,lass
Address of Principal Place_of of Units of _Security

 

 

 

 

 

 

 

 

 

 

 

 

, `Sha'reh,olde_rs ' ' ; Business`or Principal~ ' » , Interest ~
l ; ' * ' » . ,' ' Residence ' v

Yehuda Blinder 95 DWIGHT PLACE 40,000 0.102%
ENGLEWOOD, NJ 76311

Thomas E. Claugus 2300 WINDY RIDGE PKWY 36,640 0.093%
STE 550 SOUTH
ATLANTA, GA 30339

Ciough Investment Parmers H, LP ONE POST OFFICE SQUARE 32,600 0.083%
40TH FLOOR
BOSTON, MA 21091

J. Steven Emerson Partners 1522 ENGLEY AVENUE 25,000 0.064%
LOS ANGELES, CA 90024

Carroil Robenson Ray 601 JEFFERSON 4000 25,000 0.064%
HOUSTON, TX 77002

Markus Rezny 30B CAMBRIDGE PARK 25,000 0.064%
TWICKENHAM, UK TW 1 2JK

AFR Value Partners, LP 50 CHURCH ST., 5TH FLOOR 22,500 0.057%
CAMBRIDGE, MA 21381

Wiiliam T. Wilson PO BOX 27419 21,875 0.056%
HOUSTON, TX 77227

Nichoias L. Swyka, Jr. 3023 DEL MONTE DRIVE 21,875 0.056%
HOUSTON, TX 77019

Arrhur L. Smith 7308 SHADYVILLA LANE 21,875 0.056%
HOUSTON, TX 77055

Porter Bennett 284 SOUTH MEADOW DRIVE 21,875 0.056%
MCALLISTER, MT 59740

Christopher Hilgert C/O FA]RWAY ENERGY, LP 20,920 0.053%

THREE RIVERWAY, SUITE 1550
HOUSTON, TX 77056

 

 

 

Michael Billberry 9807 CORRAL CORNER LANE 20,920 0.053%
HOUSTON TX 77064

H&A Holdings Group, Inc. 4 PARK PLAZA, SUITE 530 20,000 0.051%
]RVINE, CA 92614

Bill Rorne C/O FAIRWAY ENERGY, LP 19,021 0.048%

THREE RIVERWAY, SUITE 1550
HOUSTON, TX 77056 ’

 

 

 

 

 

Roth Living Trust W 277 N2547 ROCKY PT. RD. 17,000 0.043%
PEWAUKEE, WI 5 3072

Michael A. Lloyd IRA 350 CENTRAL PARK WEST 15,000 0.03 8%
NEW YORK, NY 10025

Windhorse Horizons, LP 125 HIGH ST., 22ND FLOOR 15,000 0.038%
BOSTON, MA 21381

Dcutsche MLP & Energy 345 PARK AVENUE 10,000 0.025%

ln&astructure Fund NEW YORK, NY 10154

Kevin Hickey C/O FAIRWAY ENERGY, LP 10,000 0.025%

THREE RIVERWAY, SUITE 1550
HOUSTON, TX 77056

 

 

 

Adam ]`. Fishman 350 EAST 79TH ST., APT 25B 10,000 0.025%
NEW YORK, NY 10075
Paul Dcllisola C/O FBR 10,000 0.025%

1300 17TH ST N.
ARLINGTON, VA 22209

 

 

 

 

4818-7651-0818 v.6

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Case 18-12684-LSS Doc 1 Filed 11/26/18 Page 22 of 24

 

Address cf Principal Place of v

Number,and Class

 

 

 

 

' f ' ` , . of Units of Security
Shareholders ` Business 'or'Principal ' Interest
l ` ' 17 ' » 1 » Residence , v .
Evan L. Julber 19507 SUNSHINE WAY 9,700 0.025%
BEND, OR 97702
Terry Mance Edmondson, Jr. 3225 N ST NW 7,500 0.019%
WASHl`NGTON, DC 20007
Redwood Partners H, LLC 54 WEST 2IST STREET 7,500 0.019%
NEW YORK, NY 10010
Michael H. Schwartz Profit Sharing 15 WEST 24TH STREET STH FL. 5,000 0.013%

Plan

NEW YORK, NY 10010

 

Alan S. Morton

1701 HERMANN DRIVE, APT
3203
HOUSTON, TX 77004

5,000 0.013%

 

David Sequoya Kennedy

627 CARROLL ST.
BROOKLYN, NY 11215

5,000 0.013%

 

David O’Dell

C/O FAIRWAY ENERGY, LP
THREE RIVERWAY, SUITE 1550
HOUSTON, TX 77056

3,829 0.010%

 

Robert Flavin

C/O FAIRWAY ENERGY, LP
THREE RIVERWAY, SUITE 1550
HOUSTON, TX 77056

3,829 0.010%

 

Heidi Mayer

105 LEXINGTON AVE., APT 6C
NEW YORK, NY 10016

3,500 0.009%

 

Christophcr Michael Micsak

1301 RICHMOND AVE., #436
HOUSTON, TX 77006

2,500 0.006%

 

NY UTMA Acct. for Julia L. Berk
Austin

AUSTIN BERK CUSTODIAN
95 EAGLE CHASE
WOODBURY, NY 11797

1,000 0.003%

 

Kelly Sakellariou and Nilos
Sakcllariou

61 CORNHILL STREET
ANNAPOLIS, MD 21401

700 0.002%

 

Falcon Global Partners LLC

 

1 11 BROADWAY, 11TH FL.
NEW YORK, NY 10006

500 0.001%

 

 

Total Shares

 

 

39,266,019 100%

 

 

4818~7651~0818 v.6

ll:"

"1`|"1 `

 

Case 18-12684-LSS Doc 1 Filed 11/26/18 Page 23 of 24

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT ()F DELAWARE

In re § Chapter 11

§
FAIRWAY ENERGY, LP § Case No.

§
Debtor. §
§
STATEMENT OF CORPORATE OWNERSHIP

Pursuant to Federal Rules of Bankruptcy Procedure 1007(a)(1) and 7007.1, the undersigned
corporation certifies that:

§ Following is a complete list of all corporations, other than governmental units, that
directly or indirectly own 10% or more of any class of its equity interests:

l_\l_a_m_e Percentage
President and Fellows of Harvard College 28.014%
Fairway Energy Holdings LLC 17.827%
(Haddington Energy Partners lV, LP)

Deutsche Global lnfrastructure Fund 15.764%
OR

There are no corporations that directly or indirectly own 10% or more of any class of its
equity interests

4848-0498-6978 v.2

Case 18-12684-LSS Doc 1 Filed 11/26/18 Page 24 of 24

Fi|l in this information to identify the case and this iiiing:

>

Fairway Energy, LP

Dobior Name

united sizes Bankruer courier ther nr.»,rrr ,.r Delaware
(surs)

Case “ (lrknown):

 

 

 

Officia| Forrn 202
Deciarati"on Under Pena!ty of Perjury for.iNon-i`ndiv.i`duat Debtors 12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign end submit
this form for the schedules of assets and liabllit|es, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Ru|es 1008 and 9011.

 

WARN|NG -- Bankruptcy fraud is a serious crime. Making a false statementl concealing prcperty, or obtaining money or property by fraud in
connection with a bankruptcy case can result in lines up to $500,000 or imprisonment for up to 20 years, or hoth. 18 U.S.C. §§ 152,1341,
1519, and 3571.

- Declaratlon and signature

i am the presidentl another officerx or an authorized agent of the corporation; a memberor an authorized agent of the partnershlp; or
another individual sewing as a representative of the debtor in this case.

l have examined the information in the documents checked below and l have a reasonable belief that the information is true and correct

Sonedule A/B.' Assets~Reai and Personal Propsrty (Oftlclal Forrn ZUGA/B)
Schedu/e D.' Creditors Who Have C/aims Secured by Property (Ofticia| Fcrm ZDSD)
Schedu/e E/F: Creditors Who Have Unsecured Clalms (Cfficla| Form 206E/F)
Schedule G: Execuiory Contracts and Unexpired Leases (Ofticiai Forrn 206(3)
Schedu/e H.' Codabtors (Officiai Forrn ZOSH)

Summary of Assets and Liabi/ities for Non-Ir)dividuais (Offlclal Forrn ZOBSum)

UUUUUDU

Amended Scheduic

x Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 20 Largest Unsecured C/olms end Are Not lnsiders (Ofnc|el
Fonn 204)

X Other document that requires a declaration (i) Ccrporate Ownershlp Statement and (ii) Verifled List of Equlty Secur|ty Holders

 

l declare under penalty of perjury that the foregoing ls title ' = "

 
 

Executed on

11/26/2018 x am k mg _

MM /Du /YYYY signature or inrii\`ndual s-gning an behalf ordebirrr W

 

 

 

 

Dana A. Grams

 

Printed name

Chief Executive Ofticer of Fairway Energy GP, LLC, general partner
F’..°Fil°v.°mlr. tit w ..° ¢'. to: airway Energy, LP, as sole member

   

Oi‘iicia| Form 202 Daciaratlon Under Panalty of Fariury ior Non-lndivlduai Debtors

owes

 

 

 

 

 

